     Case 4:17-cr-00208-JRH-CLR Document 232 Filed 12/28/17 Page 1 of 2
                                                        S. DSSTRJCT COURT
                                                       Southern District of GA
                                                           Fiied in Office
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             IN THE UNITED STATES DISTRICT
                  THE SOUTHERN DISTRICT OF GEORGIADeputyCleriT
                           SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                             Case No.    CR408-228


TYRONE HARRIS,


                  Defendant,




UNITED STATES OF AMERICA,


V.                                             Case No.    CR417-95


ERNEST T. JACKSON,


                  Defendant.




UNITED STATES OF AMERICA,


V.                                             Case No.    CR417-208


DEVIN DABNEY,


                  Defendant,


UNITED STATES OF AMERICA,


V.                                             Case No.     CR417-241


JAMAL BRIGHTWELL,


                  Defendant,




                                 ORDER



      Brian J. Huffman, Jr., counsel of record for defendants in the
   Case 4:17-cr-00208-JRH-CLR Document 232 Filed 12/28/17 Page 2 of 2




above-styled cases, has moved for leave of absence.         The Court is

mindful that personal and professional obligations require the

absence   of   counsel on occasion. The Court, however, cannot


accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and        trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



     SO ORDERED this        "day of December 2017.




                                 HONORABLE WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
